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                         IN THE UNITED STATES DISTRICT COURT
12                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN JOSE DIVISION
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     MATT JONES, BRYSON DECHAMBEAU,                CASE NO. 5:22-cv-04486-BLF
14   PETER UIHLEIN, and LIV GOLF INC.,
                                                   [PROPOSED] ORDER SEALING
15                           Plaintiffs,           PORTIONS OF JOINT STATEMENT
                                                   REGARDING REQUEST FOR CASE
16        v.                                       MANAGEMENT CONFERENCE
17   PGA TOUR, INC.,
18                           Defendant and
                             Counter-Plaintiff,
19
          v.
20
     LIV GOLF INC.,
21
                Counter-Defendant.
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                                           [PROPOSED] ORDER
                                  CASE NO. 5:22-CV-04486-BLF
          Case 5:22-cv-04486-BLF Document 272-2 Filed 02/13/23 Page 2 of 2


1           Pursuant to Civil Local Rule 79-5, defendant PGA Tour, Inc. filed an administrative motion to
2    consider whether another party’s material should remain sealed. Dkt. No. 254. Plaintiff LIV Golf,
3    Inc. (“LIV”) filed a Statement and Declaration in Support of Sealing.
4           Based on the below reasoning, the Court orders that the following materials SHALL remain
5    sealed or redacted:
6
      ECF or Ex. No.           Document              Potion(s) to Seal           Reason(s) for Sealing
7
        Document
8       ECF 254-1          Joint Request for a    Highlighted portions at    Contains           confidential
                           Case Management        lines 6:10-19              information     about    LIV’s
9                          Conference                                        Shareholder Agreement setting
                                                                             out its relationship with its
10                                                                           investors, including investor
                                                                             rights, disclosure of which
11
                                                                             would prejudice LIV’s ability
12                                                                           to obtain outside funding,
                                                                             pursue a franchise model in the
13                                                                           future, and obtain future
                                                                             business.
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15                                                                           Contains            confidential
                                                                             information           regarding
16                                                                           participation of LIV’s investors
                                                                             in LIV’s internal decision-
17                                                                           making, disclosure of which
                                                                             would harm LIV by allowing
18                                                                           competitors to exploit the
19                                                                           information, deterring potential
                                                                             business partners, and reducing
20                                                                           opportunities     for    outside
                                                                             funding.
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            IT IS SO ORDERED.
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     DATED _________________________                       _____________________________________
26                                                         BETH LABSON FREEMAN
                                                           United States District Court Judge
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                                                 [PROPOSED] ORDER
                                        CASE NO. 5:22-CV-04486-BLF
